                      Case 4:19-cv-06669-JST Document 31 Filed 04/20/20 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofCalifornia
                                                                      __________


                       ROBERT ROSS                             )
                             Plaintiff                         )
                                v.                             )      Case No.     4:19-cv-06669 (JST)
                   AT&T MOBILITY, LLC                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Robert Ross                                                                                        .


Date:          04/20/2020
                                                                                         Attorney’s signature


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